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                             AT
 1                                                               Magistrate Judge S. Kate Vaughan
                 Sep 16, 2024
 2
 3
                                FTL
 4
 5
 6
                                 UNITED STATES DISTRICT COURT
 7
                                WESTERN DISTRICT OF WASHINGTON
 8                                        AT SEATTLE
 9
10     UNITED STATES OF AMERICA,                           NO. MJ24-489
11                                Plaintiff,               COMPLAINT for VIOLATION
12                                                         Title 18, United States Code, Sections
                  v.                                       2422(b), 2423(b), 2252(a)(4)(B), (b)(2)
13
14
       STEVEN J. MIGDON,                                   OUR CASE NO: 24-6452-MJ-PAB
                                  Defendant.
15
16
            BEFORE the Honorable S. Kate Vaughan, United States Magistrate Judge,
17
     United States Courthouse, Seattle, Washington.
18
            The undersigned complainant being duly sworn states:
19
                                                 COUNT 1
20
                                      (Attempted Enticement of a Minor)
21
            Between on or about July 26, 2024, and on or about August 5, 2024, in Snohomish
22
     County, within the Western District of Washington, and elsewhere, STEVEN J. MIGDON,
23
     used a means and facility of interstate and foreign commerce, to include the internet and a
24
     cellular telephone, to knowingly persuade, induce, entice, and coerce, and attempt to do so,
25
     an individual who had not attained the age of eighteen years to engage in sexual activity for
26
     which any person can be charged with a criminal offense.
27
            All in violation of Title 18, United States Code, Section 2422(b).
28

      COMPLAINT / United States v. Migdon - 1                                 UNITED STATES ATTORNEY
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 1                                                COUNT 2
 2                  (Travel with Intent to Engage in a Sexual Act with a Minor)
 3         On or about August 5, 2024, within the Western District of Washington, and
 4 elsewhere, the defendant, STEVEN J. MIGDON, did knowingly travel in interstate
 5 commerce, to wit from Tucson, Arizona, to Everett, Washington, for the purpose of engaging
 6 in illicit sexual conduct, that is, a sexual act, as that term is defined in 18 U.S.C. § 2246, with
 7 a person(s) under the age of eighteen, which sexual act would constitute a violation of Title
 8 18, United States Code, Chapter 109A.
 9         All in violation of Title 18, United States Code, Section 2423(b).
10                                                COUNT 3
11                                  (Possession of Child Pornography)
12         On or about August 5, 2024, in Snohomish County, within the Western District of
13 Washington, and elsewhere, the Defendant, STEVEN J. MIGDON did knowingly possess
14 matter that contained visual depictions, the production of which involved the use of minors
15 engaging in sexually explicit conduct, and the visual depictions were of such conduct, that
16 had been mailed and shipped and transported in and affecting interstate and foreign
17 commerce by any means, including by computer, and which had been produced using
18 materials that had been mailed and shipped and transported in and affecting interstate and
19 foreign commerce by any means, including by computer, and the images of child
20 pornography involved include images of a prepubescent minor and a minor who had not
21 attained 12 years of age.
22         All in violation of Title 18, United States Code, Section 2252(a)(4)(B), (b)(2).
23         And the Complainant states that this Complaint is based on the following information:
24         I, Benjamin M. Williamson, being first duly sworn on oath, depose and say:
25                                             I. INTRODUCTION
26         1.      I am a Special Agent with the Federal Bureau of Investigation (“FBI”) and
27 have been since February 2007. I am currently assigned to the Seattle Division’s
28 Headquarters Office. As an FBI Special Agent, I investigate criminal violations relating to

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 1 child exploitation and child pornography, including violations pertaining to the illegal
 2 production, distribution, receipt and possession of child pornography, and material involving
 3 the sexual exploitation of minors in violation of 18 U.S.C. §§ 2251, 2252, 2252A, 2422, and
 4 2426. I have received specialized training from the FBI Academy consisting of legal classes,
 5 investigative techniques, evidence preservation and collection, financial related crimes, and
 6 other law enforcement training classes. Through my training and experience, I have
 7 developed an understanding of common habits and practices used by those engaged in
 8 criminal acts against children.
 9         2.      As part of my duties, I investigate criminal violations relating to child
10 exploitation and child pornography, including violations pertaining to the illegal production,
11 distribution, receipt, and possession of child pornography and material involving the sexual
12 exploitation of minors in violation of 18 U.S.C. §§ 2251, 2252, 2252A., and 2422. My
13 training included courses in law enforcement techniques, federal criminal statutes,
14 conducting criminal investigations, and the execution of search and arrest warrants. I have
15 received further specialized training in investigating child pornography and child
16 exploitation crimes. I have also had the opportunity to observe and review examples of child
17 pornography (as defined in 18 U.S.C. § 2256(8)). I have participated in the execution of
18 previous search warrants, which involved child exploitation and/or child pornography
19 offenses, and the search and seizure of computers, related peripherals, and computer media
20 equipment.
21         3.      I am a member of the Internet Crimes Against Children (ICAC) Task Force in
22 the Western District of Washington (WDWA), and work with other federal, state, and local
23 law enforcement personnel in the investigation and prosecution of criminal violations
24 relating to child exploitation and child pornography, including violations pertaining to the
25 unlawful production, importation, distribution, receipt, attempted receipt, and possession of
26 child pornography and material involving the sexual exploitation of minors in violation of 18
27 United States Code §§ 2243(a)(1), 2251, 2252(a), 2252A(a)(4)(B), 2422, and 2243(a)(1).
28

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 1         4.       As further detailed below, based on my investigation and the investigation of
 2 other law enforcement officers, I believe there is probable cause to conclude that STEVEN J.
 3 MIGDON has committed the offenses charged in this complaint namely,
 4 Attempted Enticement of a Minor in violation of Title 18, United States Code, Section
 5 2422(b), Travel with the Intent to Engage in a Sexual Act with a Minor in violation of 18
 6 U.S.C. § 2423(b), and Possession of Child Pornography Title 18, United States Code,
 7 Section 2252(a)(4)(B), (b)(2).
 8         5.       The information contained in this affidavit consists of my personal knowledge
 9 gained through this investigation, information provided by other law enforcement agencies
10 involved in this investigation, information provided by witnesses and others with knowledge
11 of the relevant events and circumstances, information gleaned from my review of evidence,
12 and my training and experience. Because this affidavit is offered for the limited purpose of
13 establishing probable cause, I list only those facts that I believe are necessary to support such
14 a finding. I do not purport to list every fact known to me or others as a result of this
15 investigation.
16                              II. SUMMARY OF INVESTIGATION
17         6.       On July 26, 2024, the Seattle Police Department and the Federal Bureau of
18 Investigation participated in a joint undercover online chatting operation with the mission of
19 identifying and locating individuals who have a sexualized interest in children. During the
20 investigation, one suspect on Chat Avenue, later identified as STEVEN J. MIGDON, (DOB
21 1951), began chatting online with an Undercover Seattle Police Detective (the UC).
22 MIGDON informed the UC that he resided in the Tucson, Arizona area. The chats later
23 moved from the Chat Avenue application to text message. MIGDON continued to text
24 message the UC throughout the following week, and MIGDON informed the UC he was
25 intending to travel to the greater Seattle, Washington area to engage in sexual activity with
26 the UC’s 13-year-old male persona.
27         7.       The UC initially posted on Chat Avenue in the “teen” chat room section of the
28 website with phrases such as “13M WA” and “13M WA hmu (hit me up).” The UC’s profile

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 1 picture depicted a male who appeared to be 13 years old. On July 26, 2024, the UC received
 2 a message on Chat Avenue from an individual with a display name of “AZheat” which
 3 stated, “Hi, are you looking for guys or girls?” The UC stated he was looking to chat with
 4 males. The AZheat profile then responded, “I’m 25 and a guy is that too old.” After
 5 informing the user the UC was 13 years old and from Washington State, the AZheat profile
 6 responded, “I don’t get hung up on page <sic> and you look really nice. I love your
 7 picture.” The UC then provided a phone number for user AZheat to use to text message the
 8 UC. The UC then received a text message from telephone number (252)XXX-7665. During
 9 the initial text messages on July 26, 2024, MIGDON further identified himself, texting the
10 UC, “I’m Steve.”
11             8.      During documented conversations with the UC, MIGDON asked the UC if his
12 compliments to the UC “make you feel good and get a Boner?” The conversation between
13 MIGDON and the UC continued to get more sexually explicit in nature. Between July 26,
14 2024, through August 5, 2024, the UC and MIGDON exchanged dozens of messages in
15 which MIGDON asks about the UC’s frequency of masturbation, and if the UC thought of
16 MIGDON when the UC masturbated. MIGDON specified several of the sexual acts he
17 wanted to engage in with the UC, which included mutual masturbation and performing oral
18 sex on the UC. MIGDON also asked the UC on multiple occasions to send him sexually
19 explicit photographs via text message. During the text conversation, MIGDON sent the UC a
20 photograph of his face, as well as a photograph of his penis. MIGDON also told the UC he
21 was actually 49 years old. At one point in the text conversation, MIGDON asked the UC if
22 the UC was using the TeleGuard application.1
23 //
24 //
25
26   1
       According to its website, TeleGuard is a Swiss data secure messaging application that guarantees anonymity, does not
     store chats, does not share data, requires no email or phone number, and provides chat, voice, and video calls that are
27   end-to-end encrypted. After delivery, messages are immediately deleted from the serves. All files are automatically
     deleted after one moth at the latest leaving no data in the system. TeleGuard advertises that it is not subject to EU/USA
28   data protection laws and does not have to share data.

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 1                Review of Digital Communications Between the UCA and MIGDON
 2         9.      On August 6, 2024, I reviewed the chats between MIGDON and the UC.
 3 MIGDON repeatedly discussed plans to visit the UC in Everett, Washington for the purpose
 4 of having sexual contact with the UC’s fictitious minor persona. The chats are described, in
 5 part, below:
 6 July 26, 2024:
 7          MIGDON: Because I happen to know that airplanes fly up there lol
 8          UC: oh yeah what r u going to do when we finally meet
 9          MIGDON: I would definitely show you how to make yourself feel amazing and I
10          would do it for you as well as to be frank lick your balls, and suck your cock
11          UC: when can u come up and see me
12          MIGDON: Well, I can’t come this weekend because I have to work
13          MIGDON: And by the way, I just checked only about 350 dollars to fly there
14          MIGDON: And what else I would love to do is you walk in and will say hi maybe
15          kiss a little and then I’ll sit on the bed, undo your pants and pull them down slowly
16          so that your hard cock flops out
17          MIGDON: Now that I have your number for texting, I will let you know when I can
18          come up if that’s OK
19          UC: oh awesome
20          MIGDON: It would probably be a Monday or Tuesday if that’s OK
21          MIGDON: I was going to fly to Everett
22          MIGDON: We will work out the time
23          UC: ok yay
24          MIGDON: You are very sweet. I hope I can make you happy.
25          UC: i know you will
26          MIGDON: When you cum is it a lot
27          UC: soemtimes <sic> like if i can go a few days
28

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 1          MIGDON: You can either come in my mouth or you can pull it out and like come on
 2          my chest
 3          MIGDON: How many times do you let me to jerk you and suck you
 4 July 28, 2024:
 5         UCA: so when could u come up to me?
 6         MIGDON: When is a good day for you?
 7         MIGDON: I mean, what day of the week
 8         UCA: oh um most days i guess like my mom works during the day. and im on
 9         summer break
10         MIGDON: What time does she get off work?
11         MIGDON: And would it just be you and I or anyone anyone <sic> else?
12         UC: did u want it to be anyone else
13         MIGDON: Well, I don’t know anyone else up there or any friends of yours that like
14         to play
15         MIGDON: And is there a hotel or a motel that’s close to where you are
16         MIGDON: And I’m sure you don’t know anyone else who might like to join us
17         UC: no sorry, i like havent told anyone about this
18         MIGDON: Let me know the name of the closest motel or hotel
19         MIGDON: Might be able to fly out a week from tomorrow
20         UC: monday aug 5?
21         MIGDON: Yeah
22         MIGDON: Sound ok?
23         UC: yeah that could be coo
24         UC: like what time i wanna make sure my mom would be gone so i could sneak out of
25         the house
26         MIGDON: I’m sure my flight would get in around noon noon
27         UC: ok cool yeah my mom should be gone
28         MIGDON: Cool

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 1         UC: can u send me your flight info…it would get me so hot knowing ur coming
 2         MIGDON: As soon as I order the tickets
 3         MIGDON: You’re not going to change your mind and chicken out after I but the
 4         ticket?
 5         UC: no way…ur not going to chicken out. Lol
 6         MIGDON: Nooop
 7         MIGDON: What I may try to do is get a flight that gets in first thing Monday and
 8         leaves Tuesday evening so we could spend two days if you wanted
 9         UC: oh i could just tell her i was staying at my friends hous for the night?
10         MIGDON: If she would buy that, that’s cool.
11         MIGDON: I just checked the flights. The earliest flight is one in the afternoon and it
12         gets me there about four in the afternoon and then the next day we would have the
13         morning but that’s all.
14         UC: but i think Monday would be good normally at work and if not i can just say im
15         going to see a friend
16         MIGDON: How late could you stay out?
17         UC: I can usually stay out till 9 or 10
18         MIGDON: Well, if you came by at five, we would have about three or four hours
19         MIGDON: And then you could come over the next morning
20 July 30, 2024:
21         MIGDON: I booked the ticket and the Hilton Garden Inn or whatever it’s call and
22         I’ve got a rental car
23 July 31, 2024:
24         UC: r u serious about coming up here daddy…im so excited
25         MIGDON: I told you yesterday I already bought the ticket
26         UC: i know i guess im still just like in a dream lol
27         MIGDON: Are you sure you still want me?
28         UC: i do…i really do

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 1         MIGDON: Have you figured out how we are going to get together? Are you going to
 2         ride your bike or should I pick you up?
 3         UC: i was going to meet u there
 4         MIGDON: I will message you when I land. Is that a good idea?
 5         MIGDON: What about the story of spending the night with your friend?
 6         UC: im working on it with my mom but i think thatll be like a day of thing…i know i
 7         can at least get there with u and then come back in the morning too
 8         UC: what time do you land again?
 9         MIGDON: 4:00
10         MIGDON: What time would you need to be home? If the sleepover thing doesn’t
11         work?
12         UC: kk ok..ill def try and figure out a way to stay out all night
13         MIGDON: The hotel is the Hilton Garden on page Field Boulevard
14         UC: yeah i think thats the one…its the hilton next to the airport
15         MIGDON: Yes, I think you’re right. Because Paige Field Boulevard is where the
16         airport is.
17         MIGDON: It's a big one with flags out front
18 August 3, 2024:
19         MIGDON: Are you going to walk over before I get there?
20         UC: i was thinking i would and then just wait for u...but like when should i get there?
21         MIGDON: Well, my plane lands at four and it will take me a few minutes to get the
22         car so maybe if you got there about 415 it would probably be fine
23         MIGDON: When are you going to have to leave?
24         UC: i have been so good this week...i told her i was going to a movie with a friend
25         MIGDON: Ok
26         UC: so like it shouldnt be a big deal
27 August 5, 2024:
28         MIGDON: I'm on the shuttle heading to the airport

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 1         MIGDON: What are you doing
 2         UCA: Waiting for you lol
 3         MIGDON: I'm at the airport
 4         MIGDON: Have you ever been on a plane?
 5         UC: No, I haven't
 6         MIGDON: Maybe I'll have to take you on one
 7         MIGDON: On the plane
 8         MIGDON: I just landed and waiting for the shuttle
 9         UC: Im so excited ſ what r u wearing? im wearing a red shirt
10         MIGDON: Blue and white shirt with black shorts
11         MIGDON: I'm heading to get my rental car now and then I guess the hotel isn't too
12         far
13         MIGDON: You should probably leave soon. If you are there before me, just wait.
14         24.     On July 28, 2024, MIGDON made tentative plans with the UC to travel from
15 Arizona to Everett, Washington on August 5, 2024, for the purpose of engaging in sexual
16 activity with the UC. Law enforcement identified MIGDON through the cellular telephone
17 number which he used to text message the UC. Law enforcement also confirmed that
18 MIGDON had purchased a plane ticket to fly from Arizona to Washington State.
19         25.     On August 5, 2024, MIGDON flew from Tucson, Arizona to Everett,
20 Washington to meet with the UC to engage in sexual activity at a designated hotel.
21 MIGDON traveled via plane to Washington State, and then rented a car to travel to the
22 designated hotel where he was arrested by the Washington State ICAC Task Force. A test
23 text message was sent from the UC’s cellular phone to MIGDON’s cellular phone to confirm
24 this was the same individual with whom the UC had been communicating. An Apple iPhone
25 13 that was seized from MIGDON’s person incident to arrest reflected a text notification
26 from the UC.
27         26.     Following his arrest, MIGDON was transported to the FBI Everett office by
28 officers with the Seattle Police Department to be interviewed. During the interview,

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 1 MIGDON admitted to traveling to Everett, Washington with the intent to engage in sexual
 2 activity with the UC’s 13-year-old persona. MIGDON stated that in the last six years, he had
 3 developed a sexual interest in minors and had been regularly chatting with minors online.
 4 MIGDON confirmed he had sent an image of his penis to the UC and revealed he had sent
 5 images of his penis to multiple other children. MIGDON provided consent for law
 6 enforcement to search his iPhone 13 and advised he had received child pornography from
 7 chatting with others online. MIGDON indicated that child pornography would be located on
 8 his phone.
 9         27.     On August 5, 2024, Seattle Police Detective Gill forensically extracted the data
10 from MIGDON’s iPhone 13 pursuant to the consent search. Once the phone was extracted,
11 Seattle Police also conducted a manual search of the device. Seattle Police located numerous
12 chats between MIGDON and suspected minors which became sexual in nature. Detective
13 Gill also located files of suspected child pornography within the chats.
14         28.     On August 12, 2024, Seattle Police provided FBI Seattle a portion of the
15 extracted data from MIGDON’s iPhone 13. I reviewed video captures of the manual search
16 of MIGDON’s iPhone 13. MIGDON’s device was logged into a chatting application called
17 TeleGuard, as described above, with the account name of “PASTEVERM.” I reviewed a
18 chat, dated July 26, 2024, between PASTEVERM and username “Tuuka.” While Tuuka did
19 not state his age in the available chats, I believe he is a minor based upon the manner in
20 which he texts and the photos he sent PASTEVERM (MIGDON) depict an apparent minor.
21         29.     In the chats, PASTEVERM initially requested Tuuka to send a picture of
22 Tuuka in his underwear. Tuuka then sent a picture of what appears to be the torso of male
23 child between the ages of 8-10 years old wearing blue underwear. PASTEVERM then
24 responded to the image, “Well, that was very brave of you because you had never something
25 with someone older. I’ll take my underwear down if you want to see mine.” Tuuka
26 responded, “A older guy yesterday showed me naughty stuff.n didn’t even want a dik pic.”
27 PASTEVERM then sent Tuuka a photograph of his erect penis. The image of
28 PASTEVERM’s penis and genital area closely resemble the image MIGDON sent of his

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 1 penis to the UC, as well as numerous images of MIGDON’s penis that were located on his
 2 phone during the forensic review. PASTEVERM then asked Tuuka, “Is that nice? Would
 3 you show me yours?” At approximately 1514 hours, Tuuka sent PASTEVERM an image
 4 purportedly depicting Tuuka’s erect penis, which appears to be consistent with that of an 8-
 5 10 year old boy, due to the lack of pubic hair and genital development. At approximately
 6 1526 hours, Tuuka messaged PASTEVERM, “I’m lookin at boy pics the guy showed me.”
 7 PASTEVERM replied, “I’d like to see that too.” At approximately 1528 hours, Tuuka sent
 8 PASTEVERM two images depicting suspected Child Sexual Abuse Material (CSAM).
 9 PASTEVERM responded, “Those pictures are kind of nice. is kind of big. Can you send one
10 of you stroking?” The two CSAM files sent by Tuuka to PASTEVERM are described as
11 follows:
12              a.      An image of a prepubescent boy lying on a bed wearing only a red shirt.
   The boy is naked from the waist down and his erect penis and scrotum are depicted in the
13
   image. The child is estimated to be approximately 8-9 years old due to his youthful
14 appearance, his small frame, and his lack of pubic hair growth.
15
                  b.     An image of a prepubescent boy lying on a bed wearing only a dark
16
   colored shirt. The boy is naked from the waist down and his legs are pulled up with his knees
17 under his armpits. The boy’s anus and genitals are displayed in the image. The child is
   estimated to be approximately 5-6 years old due to his youthful appearance, his small frame,
18
   and his lack of genital development.
19
            30. I have viewed these files and based on my training and experience, I believe
20
   the files described above meet the federal definition of child pornography, as defined in 18
21
   U.S.C. 2256(8). While the forensic review of MIGDON’s iPhone is ongoing, thus far there
22
   have been five images depicting CSAM located on the device including the images described
23
   above. More than fifty files depicting child erotica have been observed on the device thus
24
   far.
25
   //
26
   //
27
28

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AO 442 (Rev. 11/11) Arrest Warrant



                                        UNITED STATES DISTRICT COURT
                                                                  for the
                                                     Western District
                                                  __________  Districtof of
                                                                         Washington
                                                                            __________

                  United States of America
                             v.                                     )
                       Steven J. Migdon                             )        Case No.    MJ24-489
                                                                    )
                                                                    )
                                                                    )
                                                                    )
                            Defendant


                                                        ARREST WARRANT
To:      Any authorized law enforcement officer

         YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay
(name of person to be arrested)      Steven J. Migdon                                                                                    ,
who is accused of an offense or violation based on the following document filed with the court:

u Indictment              u Superseding Indictment         u Information        u Superseding Information             ✔ Complaint
                                                                                                                      u
u Probation Violation Petition              u Supervised Release Violation Petition       u Violation Notice          u Order of the Court

This offense is briefly described as follows:
Count 1: Attempted Enticement of a Minor, All in violation of Title 18, United States Code, Section 2422(b)
Count 2: Travel with Intent to Engage in a Sexual Act with a Minor, All in violation of Title 18, United States Code, Section 2423(b).
Count 3: Possession of Child Pornography, All in violation of Title 18, United States Code, Section 2252(a)(4)(B), (b)(2).




Date:         08/15/2024
                                                                                           Issuing officer’s signature

City and state:       Seattle, Washington                                    S. Kate Vaughan, United States Magistrate Judge
                                                                                             Printed name and title


                                                                  Return

           This warrant was received on (date)                          , and the person was arrested on (date)
at (city and state)                                           .

Date:
                                                                                          Arresting officer’s signature



                                                                                             Printed name and title
